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                 EXHIBIT B-066
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                   IN THE SUPERIOR COURT 0F FULTON COUN            FILED IN OFF ICE
                                 STATE OE GEORGIA
                                                                        AUG 23       2   2
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                                                                   DEPUTY CLLRk SUPERIOR COURT
                                                                        puma-:1 (to! NEW. GA

May 2022 Special Purpose Grand               I    2022—EX-000024
Jury
Hearing on motion tO quash
subpoena issued to Gov. Brian P.
Kemp

   REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
              RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 Of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording Of Judicial Proceedings, the
undersigned hereby requests permission to use a recording device in
Courtroom _82 in order to record images and/ or sound during all or portions
of the proceedings in the above captioned case / calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): Television camera and microphone(s),
laptop computer and smart phones

The proceedings that the undersigned desires to record commence on Aug 25th
10:30aET. Subject to direction from the court regarding possible pooled
coverage, the undersigned wishes to use this device in the courtroom on Aug
25‘” at 10:30aET


The personnel who will be responsible for the use of this recording device are:
Jason Morris, Christopher Youd, & Pamela Kirkland

The undersigned hereby certiﬁes that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.

Pamela Kirkland


For questions or concerns email Qigﬂultoncounyga. gov                            l
Rule 22 (Rev. 04/ 01/ 1 8)
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CNN Field Producer
(678) 763-9446
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Jason Morris
CNN Supervising Producer
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Chris Youd
CNN Producer
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Chris.voud@warnerrnedia.com

ORDER APPROVING/DISAPPROVING REQUEST:
              The request is:
                     .Approved
                     DDisapproved
              The requesting agency:
                     DShall be pool for its media
                     .Shall not be pool for its media
Under no circumstances is this rule to be construed as permission for ﬁlming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a Violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

SO ORDERED this 22nd day of August 2022.



                        MMH‘M
                    Judge 01' Superior Court of Fultlon County
                              Atlanta Judicial Circuit:


For questions or concerns email Qiogultoncounyga. gov                         2
Rule 22 (Rev. 04/ 01 / 1 8)
